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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

)
IN RE PHARMACEUTICAL INDUSTRY ) MDLNO. 1456
AVERAGE WHOLESALE PRICE )
LITIGATION ) CIVIL ACTION: 01-CV-12257-PBS
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MASTER CONSOLIDATED CLASS ACTION COMPLAINT

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Plaintiffs, by and through their counsel, upon personal knowledge as to their own acts
and beliefs, and upon information and belief as to all other matters based upon the

investigations of counsel, allege as follows:

I, INTRODUCTION

1. This case is brought by Plaintiffs as a proposed class action on behalf of
consumers, self-insured employers, health and welfare plans, health insurers and other end-
payors for prescription drugs (the “Class”) against most of the nation’s largest pharmaceutical
companies (referred to as the “Defendant Drug Manufacturers”). One of the goals of this suit is
to recover hundreds of millions of dollars overpaid as a result of Defendants’ fraudulent
scheme to inflate and maintain the high reimbursement amounts upon which payments made by
Plaintiffs and Class members for prescription drugs are based.

2. For the last decade, the Defendant Drug Manufacturers have conspired with
others in the distribution chain, including but not limited to physicians and hospitals (hereafter
“medical providers” or “providers”), to collect inflated prescription drug payments from
Plaintiffs and the Class.

3. More specifically, the Defendant Drug Manufacturers report to trade
publications a drug price — the Average Wholesale Price (or “AWP”’) — that is deliberately set
far above the prices that their drugs are available in the marketplace. The AWPs for these
drugs are deliberately false and fictitious and created solely to cause Plaintiffs and the Class
members to overpay for drugs. Because all drugs administered under Medicare Part B and
brand name drugs administered outside of the Medicare context are priced based on the
published AWPs, the Defendant Drug Manufacturers inflate AWP reimbursement rates to
enable providers and others to make secret profits through overcharges to patients and their
insurers, This, in turn, incentivizes the providers to sell and administer the drugs with the most

inflated AWPs, resulting in increased market share and profit for the Defendant Drug

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Manufacturers and inflated payments for drugs by individual patients and their insurers
(through co-pays or direct payments).

4. For drugs rermbursed by Medicare Part B (which generally, but not always,
require administration in a provider’s office), the health care providers administer the drugs and
are reimbursed by Medicare based on the inflated AWP. Thus, the providers benefit by
pocketing the “spread” between the AWP and the actual cost that they pay for the drugs, and
the Defendant Drug Manufacturers benefit by increasing the sales of their drugs that are
covered by Medicare Part B (“Covered Drugs”) and by increasing their market share. In some
cases, the Defendant Drug Manufacturers also provide chargebacks, rebates, hidden price
discounts and/or other unlawful financial inducements, including free samples, to further
increase the provider’s spread and, therefore, their incentive to prescribe a particular Defendant
Drug Manufacturer’s product.

5, For brand name drugs administered outside of the Medicare Part B context, most
patients and health plans pay based on the inflated AWP with an intermediary (for example, a
pharmacy benefit manager or others) pocketing the “spread” between the AWP and the actual
cost that the intermediaries pay for the brand name drugs. And similar to the benefit that the
Defendant Drug Manufacturers obtain through the AWP scheme for Part B drugs, the
Defendant Drug Manufacturers also benefit from the AWP scheme by increasing the sales of
their particular brand name drugs and their market share for that drug.

6. Thus, in a perversion of the type of competitive behavior expected in a market
not subject to illegal restraints of trade, the Defendant Drug Manufacturers often promote their
drugs not simply with lower prices, but with reimbursement rates based on a fictitious AWP
that allows purchasers and intermediaries (including providers and PBMs) to make inflated
profits — and the Defendant Drug Manufacturers to increase their market share — at the expense

of Plaintiffs and the Class.

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7. The Defendant Drug Manufacturers also caution providers and other
intermediaries that the success of the high profit scheme will be jeopardized if anyone discloses
the significantly lower prices actually paid for the drugs (allowing the scheme to be concealed
and to continue). All Defendants actively conceal, and caused others to conceal, information
about the true pricing structure for the prescription drugs, including the fact that the AWPs for
the drugs are deliberately overstated.

8. This suit, brought under the federal Racketeering and Corrupt Organizations Act
and the consumer protection statutes of many states, is necessary to protect consumers,
Medicare participants, health plans and insurers from Defendants’ predatory and unlawful

conduct.

Il. JURISDICTION AND VENUE

9. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
this action arises under the laws of the United States, 18 U.S.C. § 1964(c) because this action
alleges violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18
U.S.C. §§ 1961-1968.

10. The Court has supplemental jurisdiction over the claims for violations of the
consumer protection statutes alleged herein.

11. A substantial part of the events or omissions giving rise to the claims in this
action occurred in this judicial District, and Defendants may be found within this judicial
District. Venue is proper in this jurisdiction under 28 U.S.C. § 1391 and 18 U.S.C. § 1965.
Defendants implemented their fraudulent marketing scheme in this District, as well as
nationwide, through providers and sales representatives who reside or transact business in this
District and thereby affected Class Members, who similarly reside or transact business in this

District.

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12. The Judicial Panel on Multidistrict Litigation has, by Order dated April 30,
2002, ordered all related cases in the In re: Pharmaceutical Industry Average Wholesale Price
Litigation, MDL Docket Number 1456, transferred to the District of Massachusetts for
coordinated or consolidated pre-trial proceedings.

Ill, PARTIES
Plaintiffs

1. Individual Patients

13. Plaintiff Dr. Shirley Geller (“Geller”) is a resident of the State of California.
During the Class Period, Dr. Geller’s clinician administered to her a Medicare Plan B covered
prescription drug manufactured and distributed by the Defendant Drug Manufacturers,
including Vancomycin. Dr. Geller, a Medicare Part B participant, paid the 20% co-payment for
such drugs.

14. _— Plaintiff Leroy Townsend (“Townsend”) is a resident of the state of Florida,
Towsend has prostate cancer and, during the Class Period, received injections of Zoladex from
his physician. Townsend is a Medicare Part B participant and has been billed for and paid the
Medicare Part B 20% co-payment.

15. — Plaintiff Betty Sicher (“Sicher”) is a citizen and resident of the State of New
York and a member of Plaintiff New York StateWide Senior Action Council. She resides in
Spring Valley, New York. During the Class Period, Sicher’s clinician administered to her a
Plan B covered prescription drug manufactured and distributed by Defendant Drug
Manufacturers. Sicher, a Part B participant paid the 20% co-payment.

16. _—— Plaintiff Joan Lee (“Lee”) is a citizen and resident of the State of California and
a member of Plaintiff Gray Panthers of Sacramento and Plaintiff Congress of California
Seniors. She resides in Sacramento, California. During the Class Period, Lee’s clinician

administered to her a Plan B covered prescription drug manufactured and distributed by the

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Defendant Drug Manufacturers. Lee, a Part B participant, paid the twenty percent (20%) co-
payment.

17, _ Plaintiff John Bennett (“Bennett”) is a citizen and resident of the
Commonwealth of Massachusetts and a member of Plaintiff Massachusetts Senior Action
Counsel. He resides in Agawam, Massachusetts. During the Class Period, Bennett’s clinician
administered to him a Plan B covered prescription drug manufactured and distributed by the
Defendant Drug Manufacturers. Bennett, a Part B participant, paid the twenty percent (20%)
co-payment.

18. _— Plaintiff Pearl Munic (“Munic”) is a citizen and resident of the State of
Minnesota and a member of Plaintiff Minnesota Senior Federation. She resides in Duluth,
Minnesota. During the Class Period, Munic’s clinician administered to her a Part B covered
prescription drug manufactured and distributed by the Defendant Drug Manufacturers. Munic,
a Plan B participant, paid the twenty percent (20%) co-payment.

19. Plaintiff Sue Miles (“Miles”) is a citizen and resident of the State of New York.
She resides in New York City. During the Class Period, Miles’s clinician administered to her a
Part B covered prescription drugs manufactured and distributed by the Defendant Drug
Manufacturers. Miles, a Plan B participant, paid the twenty percent (20%) co-payment.

20. _—_— Plaintiff Jack Douglas (“Douglas”) is a citizen and resident of the State of New
York. He resides in Elmhurst, New York. During the Class Period, Douglas’s clinicians
administered to him Part B covered prescription drugs manufactured and distributed by the
Defendant Drug Manufacturers. Douglas, a Plan B participant, paid the twenty percent (20%)
co-payment.

21. ‘Plaintiff Jean H. Aierstuck (“Aierstuck’”) is a citizen and resident of the State of
Pennsylvania. She resides in Leola, Pennsylvania. During the Class Period, Aierstuck’s

clinicians administered to her Part B covered prescription drugs manufactured and distributed

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by the Defendant Drug Manufacturers. Aierstuck, a Plan B participant, paid the twenty percent
(20%) co-payment.

22. Each of the individual patient Plaintiffs overpaid for applicable drugs based on,
and in reliance on, the AWPs.

2. Third-Party Payors

23. Plaintiff Board of Trustees of Carpenters and Millwrights of Houston and
Vicinity Welfare Trust Fund (““CMHV”) is an employee welfare benefit plan and employee
benefit plan established and maintained pursuant to section 302(c)(5) of the Labor Management
Relations Act (““LMRA”’), 29 U.S.C. § 186(c)(5), and as defined by §§ 1002(1) and (3) of the
Employee Retirement Income Security Act (“ERISA”), 29 U.S.C § 1001, et seq., for the
purpose of providing health benefits to eligible participants and beneficiaries. As such, CMHV
is a legal entity entitled to bring suit in its own name pursuant to 29 U.S.C. § 1132(d). CMHV
maintains its principal place of business at 9555 West Sam Houston Parkway South, Suite 400,
Houston, Texas. During the Class Period, Carpenters Welfare Trust Fund has been billed for
and paid charges [or Medicare Part B 20% co-payments] for Covered Drugs and otherwise
made payments for brand name drugs outside of the Medicare Part B context based on
published AWPs .

24. Plaintiff Teamsters Health & Welfare Fund of Philadelphia and Vicinity
(“THWF’”) is an employee welfare benefit plan and employee benefit plan established and
maintained pursuant to Section 302(c)(5) of the LMRA, and is an employee welfare benefit
plan established and maintained pursuant to §§ 1002(1) and (3) of ERISA, for the purpose of
providing health benefits to eligible participants and beneficiaries. As such, THWF is a legal
entity entitled to bring suit in its own name pursuant to 29 U.S.C. 1132(d). THWF maintains
its principal place of business at Fourth & Cherry Streets, Philadelphia, Pennsylvania 19106. It
provides comprehensive health coverage for over 28,000 participants and beneficiaries in parts

of Pennsylvania, New Jersey and Delaware. During the Class Period, THWF has been billed

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for and paid charges for Covered Drugs, including: Amgen’s filgrastin; AstraZeneca’s
Zoladex; Aventis’ Acthar; BMS’ Mesnex, Taxol, Paraplatin, Blenoxane, Vepesid, Etopophos
and Ifex; GSK’s Navelbine, Kytril and Zofran; Immunex’ Novantrone; Johnson & Johnson’s
Remicade; Pharmacia’s Camptosar; and various generic drugs from several manufacturers.
THWFE also made payments for brand name drugs outside of the Medicare Part B context based
on published AWPs.

25. Plaintiff Twin Cities Bakery Workers Health and Welfare Fund (“TCBW’) is a
jointly administered Taft-Hartley Fund established and maintained pursuant to § 302(c)(5) of
the LMRA, and is an employee welfare benefit plan established and maintained pursuant to
ERISA, for the purpose of providing health benefits to eligible participants and beneficiaries.
TCBW maintains its principal place of business in Mendota Heights, Minnesota. As such,
TCBW is a legal entity entitled to bring suit in its own name pursuant to 29 U.S.C. 1132(d).
TCBW provides health benefits, including prescription drug benefits, to approximately 2000
active participants, and their spouses and dependants. During the Class Period, TCBW has
been billed for and paid charges for Covered Drugs, including: Dey’s albuterol sulfate and
cromolyn sodium; and Schering-Plough/Warrick’s albuterol sulfate. TCBW also made
payments for brand name drugs outside of the Medicare Part B context based on published
AWPs.

26. Plaintiff United Food and Commercial Workers Unions and Employers Midwest
Health Benefits Fund (“UFCW”) is an employee welfare benefit plan and employee benefit
plan maintained pursuant to section 302(c)(5) of the LMRA, and is an employee welfare
benefit plan established and maintained pursuant to ERISA, for the purpose of providing health
benefits to eligible participants and beneficiaries. UFCW maintains its principal place of
business in Cook County, Illinois. During the Class Period, UFCW has been billed for and
paid charges for Covered Drugs, including: Abbott’s sodium chloride, gentamicin sulfate,

furosemide, heparin lock flush and dextrose; Baxter’s sodium chloride and dextrose; Bedford’s

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leucovorin calcium; Sicor’s leucovorin calcium; Pharmacia’s methylprednisolone sodium;
Braun’s sodium chloride; Aventis’ Furosemide; Immunex’ leucovorin calcium and Johnson &
Johnson’s Remicade. UFCW also made payments for brand name drugs outside of the
Medicare Part B context based on published AWPs.

27. Each of the Third-Party Payor Plaintiffs named overpaid for applicable drugs
based on, and in reliance on, the AWPs.

3. Non-Profit Associations Whose Members Purchased Prescription Drugs

28. Plaintiff Citizens for Consumer Justice (“CCY”) is a Pennsylvania nonprofit
umbrella organization that promotes affordable, quality health care. It is located at Architects
Building, 117 South 17th Street, Ste. 311, Philadelphia, Pennsylvania. During the Class Period,
CCJ’s members purchased prescription pharmaceuticals manufactured and/or distributed by the
Defendant Drug Manufacturers, made inflated payments or co-payments therefor, and were
injured by the illegal conduct alleged herein. As an unincorporated association, CCJ has
standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

29, Plaintiff Citizen Action of New York (“CANY”) is a coalition of labor, senior
citizen, women’s, student, tenant and community organizations that works with community
activists for social and economic justice. It is located at 94 Central Avenue, Albany, New
York. During the Class Period, CANY’s members purchased prescription pharmaceuticals
manufactured and/or distributed by the Defendant Drug Manufacturers, made inflated
payments or co-payments therefor, and were injured by the illegal conduct alleged herein. As
an unincorporated association, CANY has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

30. —_ Plaintiff Colorado Progressive Coalition (“CPC”) is a statewide nonprofit,
multiracial network of groups and individuals united for racial and economic justice. It is
located at 1420 Ogden Street, 1st Floor, Denver, Colorado, During the Class Period, CPC’s

members purchased prescription pharmaceuticals manufactured and/or distributed by the

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Defendant Drug Manufacturers, made inflated payments or co-payments therefor, and were
injured by the illegal conduct alleged herein. As an unincorporated association, CPC has
standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

31. — Plaintiff Connecticut Citizen Action Group (““CCAG”) is a statewide
membership organization dedicated to working with people to bring about social, economic and
environmental justice. It is located at 139 Vanderbilt Avenue, West Hartford, Connecticut.
During the Class Period, CCAG’s members purchased prescription pharmaceuticals
manufactured and/or distributed by the Defendant Drug Manufacturers, made inflated
payments or co-payments therefor, and were injured by the illegal conduct alleged herein. As
an unincorporated association, CCAG has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

32. Plaintiff Florida Alliance for Retired Americans (““FLARA”) is a nonprofit
umbrella organization formed in 1963 representing over 80 groups of retired Floridians with a
cumulative membership of over 80,000 individuals. It is located at 12773 West Forest Hill
Blvd., Ste. 1213, Wellington, Florida. During the Class Period, FLARA’s members purchased
prescription pharmaceuticals manufactured and/or distributed by the Defendant Drug
Manufacturers, made inflated payments or co-payments therefor, and were injured by the
illegal conduct alleged herein. As an unincorporated association, FLARA has standing to
pursue this action under Fed. R. Civ. P. 17(b)(1).

33. Plaintiff Gray Panthers of Sacramento (“Gray Panthers”) is a non-profit
organization devoted to advocating justice and equal access for its members and those who are
powerless. It has an address at P.O. Box 19438, Sacramento, California 19348, During the
Class Period, Gray Panther’s members purchased prescription pharmaceuticals manufactured
and or distributed by the Defendant Drug Manufacturers, made inflated payments or co-

payments therefor, and were injured by the illegal conduct alleged herein. As an

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unincorporated association, Gray Panthers has standing to pursue this action under Fed. R. Civ.
P. 17(b)(1).

34. Plaintiff Health Care For All, Inc. (“HCA”) is a non-profit organization devoted
to making health care a right of all people. It is located at 30 Winter Street, 10th Floor, Boston,
Massachusetts. During the Class Period, HCA’s members purchased prescription
pharmaceuticals manufactured and/or distributed by the Defendant Drug Manufacturers, made
inflated payments or co-payments therefor, and were injured by the illegal conduct alleged
herein. As an unincorporated association, HCA has standing to pursue this action under Fed.
R. Civ. P. 17(b)(1).

35. Plaintiff Maine Consumers for Affordable Health Care (““MCAHC’) is a non-
profit organization committed to helping the people of Maine obtain affordable, quality health
care, It is located at One Weston Court, Level 1, Augusta, Maine. During the Class Period,
MCAHC’s members purchased prescription pharmaceuticals manufactured and/or distributed
by the Defendant Drug Manufacturers, made inflated payments or co-payments therefor, and
were injured by the illegal conduct alleged herein. As an unincorporated association, MCAHC
has standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

36. —_ Plaintiff Massachusetts Senior Action Council (“MSAC’”) is a nonprofit
advocacy group for seniors, especially championing health care issues. It has 3,000 individual
members and over 60 affiliate organizations. It is located at 565 Warren Street, Boston,
Massachusetts. During the Class Period, MSAC’s members purchased prescription
pharmaceuticals manufactured and/or distributed by the Defendant Drug Manufacturers, made
inflated payments or co-payments therefor, and were injured by the illegal conduct alleged
herein. As an unincorporated association, MSAC has standing to pursue this action under Fed.
R. Civ. P. 17(b)(1).

37. Plaintiff MASSPIRG is Massachusetts’ largest consumer advocacy group. It is
located at 29 Temple Place, Boston, Massachusetts. During the Class Period, MASSPIRG’s

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members purchased prescription pharmaceuticals manufactured and/or distributed by the
Defendant Drug Manufacturers, made inflated payments or co-payments therefor, and were
injured by the illegal conduct alleged herein. As an unincorporated association, MASSPIRG
has standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

38. Plaintiff Minnesota Senior Federation (“MSF”) is a statewide, Minnesota
nonprofit and nonpartisan organization with 25,000 active members and 400 affiliated
organizations, representing 100,000 individuals. It is located at 555 Park St., Ste. 110, St. Paul,
Minnesota. During the Class Period, Plaintiff's members purchased prescription
pharmaceuticals manufactured and/or distributed by the Defendant Drug Manufacturers, made
inflated payments or co-payments therefor, and were injured by the illegal conduct alleged
herein. As an unincorporated association, MSF has standing to pursue this action under Fed. R.
Civ. P. 17(b)(1).

39. ‘Plaintiff New Jersey Citizen Action (“NJCA”) is the state’s largest independent
citizen watchdog. It is located at 85 Raritan Ave., #100, Highland Park, New Jersey. During
the Class Period, NJCA’s members purchased prescription pharmaceuticals manufactured
and/or distributed by the Defendant Drug Manufacturers, made inflated payments or co-
payments therefor, and were injured by the illegal conduct alleged herein. As an
unincorporated association, NJCA has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

40. Plaintiff New York StateWide Senior Action Council (“StateWide”) is a
grassroots membership organization made up of individual senior citizens and senior citizen
clubs from all parts of New York State. It is located at 275 State Street, Albany, New York.
During the Class Period, StateWide’s members purchased prescription pharmaceuticals
manufactured and/or distributed by the Defendant Drug Manufacturers, made inflated

payments or co-payments therefor, and were injured by the illegal conduct alleged herein. As

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an unincorporated association, StateWide has standing to pursue this action under Fed. R. Civ.
P. 17(b)(1).

41. Plaintiff North Carolina Fair Share (“NCFS”) is a non-profit grassroots
organization. It is located at 3824 Barrett Drive, Suite 312, Raleigh, North Carolina. During
the Class Period, NCFS’s members purchased prescription pharmaceuticals manufactured
and/or distributed by the Defendant Drug Manufacturers, made inflated payments or co-
payments therefor, and were injured by the illegal conduct alleged herein. As an
unincorporated association, NCFS has standing to pursue this action under Fed. R. Civ. P.
17(b)(1).

42. Plaintiff Oregon Health Action Campaign (“OHAC’”) is a non-profit public
interest organization that works to enable Oregon citizens to become better health care
consumers while maintaining affordable health care costs. It is located at 3896 Beverly
Avenue, N.E., Building J-6, Salem, Oregon. During the Class Period, OHAC’s members
purchased prescription pharmaceuticals manufactured and /or distributed by the Defendant
Drug Manufacturers, made inflated payments or co-payments therefor, and were injured by the
illegal conduct alleged here. As an unincorporated association, OHAC has standing to pursue
this action under Fed. R. Civ. P. 17(b)(1).

43, Oregon State Public Interest Research Group (““OSPIRG’’) is a non-profit public
interest research and advocacy group with 33,000 members throughout the State of Oregon. It
is located at 1536 S.E. 11th Street, Portland, Oregon. During the Class Period, OSPIRG’s
members purchased prescription pharmaceuticals manufactured and/or distributed by the
Defendant Drug Manufacturers, made inflated payments or co-payments therefor, and were
injured by the illegal conduct alleged herein. As an unincorporated association, OSPIRG has
standing to pursue this action under Fed. R. Civ. P. 17 (b)(1).

44. _— Plaintiff Pennsylvania Alliance for Retired Americans (“PARA”) is a nonprofit,

advocacy group committed to promoting affordable healthcare. It is located at 2116 Chestnut

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St., Philadelphia, Pennsylvania. During the Class Period, PARA’s members purchased
prescription pharmaceuticals manufactured and/or distributed by the Defendant Drug
Manufacturers, made inflated payments or co-payments therefor, and were injured by the
illegal conduct alleged herein. As an unincorporated association, PARA has standing to pursue
this action under Fed. R. Civ. P. 17(b)(1).

45. Plaintiff United Senior Action of Indiana, Inc. (“USAT”) is a nonprofit advocacy
group located at 1920 West Mons St., #246, Indianapolis, Indiana. During the Class Period,
USAI’s members purchased prescription pharmaceuticals manufactured and/or distributed by
the Defendant Drug Manufacturers, made inflated payments or co-payments therefor, and were
injured by the illegal conduct alleged herein. As an unincorporated association, USAI has
standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

46. Plaintiff Vermont Public Interest Research Group (“VPIRG”) has been
Vermont’s leading watchdog and advocacy group since 1972. It is located at 141 Main Street,
Ste. 6, Montpelier, Vermont. During the Class Period, VPIRG’s members purchased
prescription pharmaceuticals manufactured and/or distributed by the Defendant Drug
Manufacturers, made inflated payments or co-payments therefor, and were injured by the
illegal conduct alleged herein. As an unincorporated association, VPIRG has standing to
pursue this action under Fed. R. Civ. P. 17(b)(1).

47. Plaintiff West Virginia Citizen Action (“WVCA”) is a nonprofit organization
devoted to increase the voice of the average citizen in public affairs with an emphasis on health
care reform. It is located at 1500 Dixie Street, Charlestown, West Virginia. During the Class
Period, WVCA’s members purchased prescription pharmaceuticals manufactured and/or
distributed by the Defendant Drug Manufacturers, made inflated payments or co-payments
therefor, and were injured by the illegal conduct alleged herein. As an unincorporated

association, WVCA has standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

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48. Plaintiff Wisconsin Citizen Action (“WCA”) is the state’s premiere public
interest organization with 53,000 individual members and 250 affiliate organizations. It is
located at 1202 Williamson St., Suite B, Madison, Wisconsin. During the Class Period,
Plaintiff’s members purchased prescription pharmaceuticals manufactured and/or distributed by
the Defendant Drug Manufacturers, made inflated payments or co-payments therefor, and were
injured by the illegal conduct alleged herein. As an unincorporated association, WCA has
standing to pursue this action under Fed. R. Civ. P. 17(b)(1).

49. Action Alliance of Senior Citizens of Greater Philadelphia (“‘AASCGP”) is a
non-profit corporation organized under the laws of the State of Pennsylvania and is located in
Philadelphia County, Pennsylvania. During the Class Period, AASCGP’s members purchased
prescription pharmaceuticals manufactured and/or distributed by the Defendant Drug
Manufacturers, made inflated payments or co-payments therefor, and were injured by the
illegal conduct alleged herein. As an unincorporated association, AASCGP, has standing to
pursue this action under Fed. R. Civ. P. 17(b)(1).

50. Each Plaintiff and all Class Members paid for the Covered Drugs and/or brand
name drugs based upon and in reliance on the AWPs published by each Defendant Drug
Manufacturer for those drugs.

Defendants

51.‘ The acts charged in this complaint as having been done by the Defendants were
authorized, ordered, or done by their officers, agents, employees, or representatives while
actively engaged in the management of the Defendants’ business or affairs.

52. Various other individuals, partnerships, sole proprietors, business entities,
companies and corporations, presently unknown to Plaintiffs and not named as Defendants in
this Complaint, participated as co-conspirators in the violations alleged in this Complaint and

performed acts and made statements in furtherance thereof. Such unknown persons or entities

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acted as co-conspirators and aided, abetted or participated with Defendants in the commission
of the wrongful acts alleged in this Complaint.
Abbott

53. | Defendant Abbott Laboratories (“Abbott”) is an Illinois corporation with its
principal place of business at 100 Abbott Park Road, Abbott Park, Illinois. Abbott is a
diversified health care company that discovers, develops, manufactures, and markets health
care products and pharmaceuticals. Abbott’s principal businesses are global pharmaceuticals,
nutritionals, and medical products. Abbott reported revenues for the year 2000 of
approximately $13.7 billion and net earnings of $2.8 billion.

54. Abbott, one of the world’s largest pharmaceutical companies, is in the business
of manufacturing prescription medications for clinical distribution by Medicare Plan B
providers nationwide. The drugs manufactured by Abbott and covered by Medicare Part B
include, but may not be limited to: acetylcysteine, acyclovir, amikacin sulfate, calcitriol,
cimetidine hydrochloride, clindamycin phosphate, dextrose, dextrose sodium chloride,
diazepam, furosemide, gentamicin sulfate, heparin lock flush, metholprednisolone sodium
succinate, sodium chloride, tobramycin sulfate, vancomycin, and zemplar.
Amgen

55. | Defendant Amgen Inc. (“Amgen”) is a California corporation with its principal
place of business at Amgen Center, Thousand Oaks, California. Amgen is a biotechnology
corporation that focuses its research and development efforts on drugs related to nephrology,
cancer, inflammation, neurology and metabolism, In 2000, Amgen’s revenues exceeded
$3.6 billion.

56. Amgen is in the business of manufacturing and distributing prescription
pharmaceuticals for distribution by Medicare Plan B providers nationwide. Pharmaceuticals
that are manufactured by Amgen and covered by Medicare Part B include, but may not be

limited to, Epogen® (epoetin alfa) and Neupogen® (filgrastim).

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AstraZeneca

57. Defendant Zeneca, Inc. (“Zeneca”) is a Delaware corporation with its principal
place of business at Malvern, Pennsylvania. Zeneca is a wholly owned subsidiary of
AstraZeneca, PLC, a limited liability company domiciled in the United Kingdom.

58. Defendant AstraZeneca US is a Delaware corporation with its principal place of
business at 1800 Concord Pike, Wilmington, Delaware.

59. Defendant AstraZeneca Pharmaceuticals L.P. is a Delaware corporation, with its
principal place of business located at 1800 Concord Pike, Wilmington, Delaware. AstraZeneca
Pharmaceuticals L.P. is owned and controlled by AstraZeneca PLC, a public limited liability
company domiciled in the United Kingdom.

60. AstraZeneca, PLC, Zeneca, Inc., AstraZeneca Pharmaceuticals L.P. and
AstraZeneca U.S. are collectively referred to as “AstraZeneca.”

61. AstraZeneca maintains research and development and manufacturing facilities
worldwide, including in the United States. AstraZeneca reported annual sales of $16.5 billion
in 2001, with an operating profit of $4.2 billion.

62. AstraZeneca manufactures and markets several drugs covered by Medicare
Part B including, but not limited to: Zoladex® (goserilin acetate implant), Nolvadex®
(tamoxifen citrate), Tomudex® (raltitrexed) and Diprivan® (propofol).

The Aventis Group (Aventis, Pharma, Hoechst and Behring)

63. Defendant Aventis Pharmaceuticals, Inc. (“Pharma”) is a Delaware corporation
with its principal place of business located at 300-400 Somerset Corporate Blvd., Bridgewater,
New Jersey. Pharma is a wholly owned subsidiary of Aventis, 8.A., a company domiciled in
France. Pharma is comprised of the U.S. commercial operations of predecessor companies
Rhone-Poulenc Rorer, S.A. and Defendant Hoechst Marion Roussel, Inc. (“Hoechst”). Prior to
its acquisition by Pharma, Hoechst was a Delaware corporation with its principal place of

business located at 10236 Marion Park Drive, Kansas City, Missouri.

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64. Pharma’s principal business activities are the discovery, development,
manufacture and sale of prescription pharmaceuticals in the areas of cardiology, oncology,
infectious diseases, arthritis, allergies and respiratory disorders, diabetes and central nervous
system disorders. Pharma reported U.S. net sales of approximately $5.8 billion in 2001.

65. Defendant Aventis Behring L.L.C. (“Behring”), located at 1020 First Avenue,
King of Prussia, Pennsylvania, formerly did business as Centeon L.L.C., a 50/50 joint venture
between Hoechst and Rhone-Poulenc Rorer, §.A. When Centeon L.L.C.’s parent companies
merged to create Aventis in 1996, Behring became its wholly-owned subsidiary.

66. Behring is the plasma protein business of Pharma, producing a line of therapies
including coagulation therapies for the treatment of hemophilia, wound healing agents used
during major surgical procedures, inhibitor treatments that inhibit the formation of blood clots,
immunoglobulins for the prevention and treatment of immune disorders, and plasma expanders
for the treatment of a variety of conditions such as shock, burns and circulatory disorders. In
2000, Behring held assets estimated at $1.5 billion.

67. The drugs manufactured by Pharma, Hoechst and Behring (collectively referred
to as “The Aventis Group”) and covered by Medicare Part B include, but may not be limited to:
Anzemet® (dolasteron mesylate), Bioclate® (antihemo factor viii), Gammar® (immune
globulin), Helixate® (antihemo factor viii), Humate-P® (antihemo factor viii), Mononine®
(antihemo factor ix complex), Monoclate-P® (antihemo factor viii) and Taxotere® (docetaxel).
Baxter

68. Defendant Baxter International Inc. (“Baxter”) is a Delaware corporation with
its principal place of business at One Baxter Parkway, Deerfield, Illinois. Baxter manufactures
and distributes prescription drugs to clinical administrators. Baxter’s annual sales from

January 1, 2000 through December 31, 2000 were over $6.8 billion.

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69. Defendant Baxter Healthcare Corporation is the principal domestic operating
subsidiary of Baxter International. Baxter International and Baxter Healthcare Corporation are
collectively referred to as “Baxter.”

70. +‘ Baxter is a global medical products company that, inter alia, develops,
manufactures, markets and/or distributes drugs to treat cancer, trauma, hemophilia, immune
deficiencies, infectious diseases, kidney disease and other disorders. Baxter reported year 2000
sales of $6.9 billion.

71. The drugs developed, manufactured, marketed, sold and/or distributed by
Baxter that are covered by Medicare Part B include, but may not be not limited to: albumin,
Bebulin® (factor ix complex), Buminat® (human albumin), dextrose, dextrose sodium
chloride, Gammagard® (immune globulin), Iveegam® (immune globulin), Holoxan®
(ifosfanide), Uromitexan® (mesna), Endoxan® (cyclophosphamide), Hemofil M® (antihemo
factor viii), Proplex T® (factor ix complex), Recombinate® (antihemo factor viii), cisplatin,
sodium chloride and diazepam.

Bayer

72. Defendant Bayer Corporation (“Bayer”) is an Indiana corporation with its
principal place of business located at 100 Bayer Road, Pittsburgh, Pennsylvania. Bayer is a
wholly owned United States subsidiary of a German corporation, Bayer AG. Bayer’s
pharmaceutical division is located at 400 Morgan Lane, West Haven, Connecticut.

73. Bayer is a highly diversified health care company whose principal business
includes the development, manufacture, marketing, sale and/or distribution of healthcare
products and services, including pharmaceuticals. Bayer reported sales in the United States of
$10.1 billion in 2001 and $8.9 billion in 1999,

74, Bayer is in the business of manufacturing and distributing prescription
pharmaceuticals for distribution by Medicare Plan B providers nationwide. The pharmaceutical

drugs manufactured by Bayer and covered by Medicare Part B include, but may not be limited

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to: Kogenate® (antihemo factor viii), FS/Kogenate® (antihemo factor viii), and Koate-DVI®
(antihemo factor viii) and Gamimune® (immune globulin), all used to treat hemophilia, and
Gamimune® which is used in the treatment of immunodeficiency and autoimmune disorders.

The Boehringer Group (Boehringer, Ben Venue, Bedford)

75. Defendant Boehringer Ingelheim Corp. (“Boehringer”), is a Nevada corporation
with its principal place of business located at 900 Ridgefield Road, Ridgefield, Connecticut.
Boehringer is a United States subsidiary of Pharma Investment Ltd., of Burlington, Canada,
which in turn is a division of C.H. Boehringer Sohn Gurdstucksverwaltung GmbH & Co. KG
of Ingelheim, Germany. Boehringer designs, manufactures and markets pharmaceuticals.
Boehringer is in the business of manufacturing and distributing prescription pharmaceuticals
for distribution by Medicare Plan B providers nationwide.

76. Defendant Ben Venue Laboratories Inc. (“Ben Venue”) is a Delaware
corporation with its principal place of business located at 300 Northfield Road, Bedford, Ohio.
Ben Venue is a wholly owned subsidiary of Defendant Boehringer. Ben Venue is in the
business of manufacturing and distributing prescription pharmaceuticals for distribution by
Medicare Plan B providers nationwide.

77. | Bedford Laboratories (“Bedford”) is a division of Ben Venue with its principal
place of business located at 300 Northfield Road, Bedford, Ohio. Bedford manufactures and
markets injectable pharmaceuticals. Bedford is in the business of manufacturing and
distributing prescription pharmaceuticals for distribution by Medicare Plan B providers
nationwide. (Boehringer, Ben Venue, and Bedford are collectively referred to herein as the
“Boehringer Group.”’)

78. The pharmaceuticals manufactured by the Boehringer Group and covered by
Medicare Part B include, but may not be limited to injectable forms of: acyclovir, bleomycin,

cisplatin, cyclosporine, cytarabine, doxorubicin hydrochloride, doxorubicin hydrochloride,

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doxycycline, etoposide, leucovorin calcium, leucovorin calcium, methotrexate, mitomycin,
paclitaxel, pamidronate disodium, and vinblastine sulfate.
Braun

79. Defendant B. Braun Medical Inc. (“Braun”) is a Pennsylvania corporation with
its principal place of business located at 824 Twelfth Avenue, Bethlehem, PA. Braun designs,
manufactures and markets medical devices and certain intravenous solutions. Braun is in the
business of manufacturing and distributing prescription pharmaceuticals for distribution by
Medicare Plan B providers nationwide.

80. In 1997, Braun acquired McGaw, Inc. (“McGaw”), a Delaware corporation with
a principal place of business in Irvine, CA. Upon information and belief, McGaw ceased to
maintain a separate corporate entity upon the acquisition of McGaw by Braun. According to
Braun’s own marketing materials, Braun accepts responsibility for McGaw’s former line of
products, including the manufacture and marketing of certain intravenous solutions. Until its
acquisition by Braun, McGaw was in the business of manufacturing and distributing
prescription pharmaceuticals for distribution by Medicare Plan B providers nationwide. (Braun
and McGaw are collectively referred to herein as “Braun.”)

81. The pharmaceuticals manufactured by Braun and covered by Medicare Part B
include, but may not be limited to intravenous solutions of dextrose, dextrose sodium chloride
and sodium chloride.

The BMS Group

82. Defendant Bristol-Myers Squibb Co. (“Bristol-Myers”) is a Delaware
corporation with its principal place of business located at 345 Park Avenue, New York, New
York. Bristol-Myers is a multi-national health care company specializing in the manufacturing,
marketing and sale of pharmaceuticals and medical devices. For the year 2000, BMS reported

revenues of approximately $20 billion and net earnings of $4.7 billion.

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83. Defendant Oncology Therapeutics Network Corp. (“OTN”) is a Delaware
corporation with its principal place of business located at 395 Oyster Point Boulevard, Suite
405, South San Francisco, California. OTN has been a wholly-owned subsidiary of Bristol-
Myers since its acquisition in 1996. Prior to 1996, OTN was an independent company. In
2001, OTN reported revenues of over $1.4 billion.

84. OTN is a healthcare services and distribution firm that directly sells Bristol-
Myers’ infusion oncology drugs and related products to approximately 2,300 office-based
oncology practices in the United States. At the time of its acquisition by Bristol-Myers, OTN
was the leading distributor of chemotherapeutic drugs and related products for the treatment of
cancer. Bristol-Myers paid OTN a commission for marketing and selling its drugs. Both prior
to and after Bristol-Myers acquired OTN, Bristol-Myers marketed and sold its drugs directly to
medical providers across the country, and thus Bristol-Myers and OTN employed and
maintained extensive marketing and sales departments.

85. | Defendant Apothecon, Inc. (“Apothecon’’) is a Delaware corporation with its
principal place of business located in Princeton, New Jersey. It is a subsidiary of Bristol-Myers
specializing in small to mid-size niche brand and generic products.

86. Bristol-Myers, OTN and Apothecon are collectively referred to herein as the
“BMS Group.”

87. The BMS Group manufactures and distributes prescription drugs that are
clinically distributed by Medicare Plan B providers nationwide. The drugs manufactured by
the BMS Group and covered by Medicare Part B include, but may not be not limited to:
Blenoxane® (bleomycin sulfate), Paraplatin® (carboplatin), Cytoxan® (cyclophospamide),
Rubex® (doxorubicin hydrochloride), Etopophos® (etoposide), Vepesid® (etoposide),

TaxolV (paclitaxel) and Fungizone® (amphotericin B).

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Dey

88. Defendant Dey, Inc. (“Dey”) is a Delaware corporation with its principal place
of business at 2751 Napa Valley Corporate Drive, Napa, California. Dey is a unit of Merck
KGaA, a German pharmaceutical conglomerate.

89. Dey is a specialty pharmaceutical company that primarily develops,
manufactures and markets generic drugs used in the treatment of selected respiratory diseases
and allergies. Dey, one of the largest U.S. manufacturers of such pharmaceuticals, had net
sales of $266 million in 1998.

90. The drugs manufactured by Dey and covered by Medicare Part B include, but
may not be not limited to: albuterol sulfate, acetylcysteine, cromolyn sodium, ipratropium
bromide and metproterenol sulfate.

The Fujisawa Group (Fujisawa Healthcare, Fujisawa USA)

91. Defendant Fujisawa Healthcare, Inc. (“Fujisawa Healthcare”) is a Delaware
corporation with its principal place of business located at Three Parkway North, Deerfield,
Illinois, 60015. Fujisawa Healthcare is a wholly-owned subsidiary of Fujisawa Pharmaceutical
Co. Ltd., a Japanese corporation. Fujisawa Healthcare focuses its efforts in the therapeutic
areas of immuno-suppression and transplantation, cardiovascular care, skin care, oncology, and
antifungal and anti-infective treatment.

92. Defendant Fujisawa USA, Inc. (“Fujisawa USA”) is a Delaware corporation
with its principal place of business located at Three Parkway North, Deerfield, Illinois.
Fujisawa USA was a wholly-owned subsidiary of Fujisawa Pharmaceutical Co. Ltd. In 1998,
Fujisawa Healthcare assumed responsibility for Fujisawa USA’s portfolio of proprietary
products

93. The drugs manufactured by Fujisawa Healthcare and Fujisawa USA
(collectively referred to as “The Fujisawa Group”) and covered by Medicare Part B include, but

may not be limited to: Acyclovir Sodium, Dexamethasone Sodium Phosphate, Doxorubicin

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